               Case 7:19-po-07093 Document 1 Filed on 05/21/19 in TXSD Page 1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                AUSA

                             UNITED STATES DISTRICT COURT

                                          Southern District Of Texas McAllen Division

UNITED STATES OF AMERICA                                              CRIMINAL COMPLAINT
            vs.
                                                                        Case Number: 7:19-po-07093
Carlos Cesar VELA-Hernandez
IAE
Mexico 1999


         I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about            May 19, 2019          in            Starr                 County, in
the                            Southern District Of Texas                           defendant(s) did,
Being then and there an alien, did, knowingly and unlawfully enter the United States at a place other
than as designated by immigration officers;




in violation of Title            8          United States Code, Section(s)               1325(a)(1)
I further state that I am a(n)              Border Patrol Agent           and that this complaint is based on the
following facts:
Carlos Cesar VELA-Hernandez was encountered by Border Patrol Agents near Roma, Texas on
May 19, 2019. When questioned as to his citizenship, defendant stated that he was a citizen and
national of Mexico, who had entered the United States illegally on May 19, 2019 by rafting across the
Rio Grande River near the Roma, Texas Port of Entry.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS
COMPLAINT ARE TRUE AND CORRECT.

Continued on the attached sheet and made a part of this complaint:               Yes            No

                                                                         /S/ Shears-Jr, Cipriano Border Patrol Agent
                                                                         Signature of Complainant
                                                                         Shears-Jr, Cipriano Border Patrol Agent
                                                                         Printed Name of Complainant
Sworn to before me and signed in my presence,
May 21, 2019                                                     at     McAllen, Texas
Date                                                                    City/State

J Scott Hacker                       U.S. Magistrate Judge
        Name of Judge                    Title of Judge                                 Signature of Judge
